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                             UNITED STATES DISTRICT COURT
                         IN THE WESTERN DISTRICT OF MICHIGAN

GARN PENROD
      Plaintiff,
-vs.-                                                 Case No. 1:12-cv-106
                                                      Hon. Paul L. Maloney


AMERICAN CORADIUS INTERNATIONAL, LLC,
      Defendant.
__________________________________


                      NOTICE OF VOLUNTARY DISMISSAL
             WITH PREJUDICE AND WITHOUT COSTS TO EITHER PARTY

         The Plaintiff hereby dismisses the within action with prejudice and without costs to either
party.



                                                        Respectfully submitted


   March 22, 2012                                       /s/ Gary Nitzkin____________
                                                        GARY D. NITZKIN (P41155)
                                                        Attorney for Plaintiff
                                                        22142 West Nine Mile Road
                                                        Southfield, MI 48033
                                                        (248) 353-2882
                                                        GNitzkin@creditor-law.com
